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                               IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW MEXICO

J. LEE,
                  Plaintiff,

v.                                                                 No. 1:17-cv-01230-JB-LF

THE UNIVERSITY OF NEW MEXICO,
et al.,

                  Defendants.

     RESPONSE TO DEFENDANTS’ MOTION TO DISMISS DUE PROCESS CLAIMS

           COMES NOW, Plaintiff J. Lee, (“Plaintiff”) by and through his attorneys, ADAMS+CROW LAW

FIRM (Arlyn G. Crow and Alana M. De Young), and hereby submits this Response in Opposition to

Defendants’ Motion to Dismiss Plaintiff’s Due Process Claims (“Response”). Plaintiff respectfully

requests this Court deny Defendants’ Motion [Doc. 9] and Memorandum Brief [Doc.12] and allow

Plaintiff’s Due Process claims to proceed because Plaintiff was denied property and liberty interests

without adequate Due Process.

                                              INTRODUCTION

           Student disciplinary procedures related to allegations of sexual harassment or discrimination

in   the     college   and      university   context   have   become    a   political   hot   button.    See

https://www.cnn.com/2017/09/22/politics/betsy-devos-title-ix/index.html. No matter where you stand

on the political spectrum, concepts of fairness—core concepts in our culture and jurisprudence—

require that a person be given adequate due process to protect their property and liberty interests.

Fundamental fairness is the bulwark of due process, whether in a courtroom or at a public university.

It is in this context that Plaintiff files his Complaint against the Defendants in this case: to protect that

core foundational principle of fairness that prohibits a State from using its power to strip a person of

his liberty and property interests without adequate due process.




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        UNM—and the other Defendants—seem to argue in their Motion and Memorandum Brief to

Dismiss Plaintiff’s Due Process Claims that Plaintiff’s Complaint does not articulate a due process

claim because the Complaint alleges certain facts that show a minimal amount of “notice” and an

“opportunity to be heard” to satisfy the University of New Mexico’s (“UNM”) due process

requirements. Contrary to Defendants’ contention, however, receiving limited “notice” and a limited

“opportunity to be heard” do not equate to adequate due process. Yet, fundamental fairness requires

that a person receive enough notice and enough opportunity to be heard to give them the opportunity

to adequately and fairly protect the interest. Here, Plaintiff’s Complaint shows that it was

fundamentally unfair when Plaintiff, who had a protected liberty and property interest in his education

and reputation, did not receive adequate due process protections when the disciplinary procedures, and

the acts and conduct of the individual Defendants, expelled Plaintiff based upon allegations of sexual

misconduct with nothing more than an “investigation”—if it can even be called that—conducted by

Defendants.

        While Defendants argue that they provided the minimum level of due process, they focus only

upon very limited and specific factual allegations in Plaintiff’s Complaint and otherwise ignore the

numerous other relevant facts alleged in the Complaint that show that, overall, that the process utilized

by Defendants to expel Plaintiff was fundamentally unfair and inadequate. For example, Defendants

did not reference the following key facts specifically pled by the Complaint:

        a.      Plaintiff applied to, attended, and paid tuition to UNM for four years only to be expelled

after having paid tuition, but prior to the start of classes, without receiving a refund for that semester.

See Complaint dated 11/1/2017 [Doc. 1-1] at ¶¶ 21-28.

        b.      Defendant UNM has two different disciplinary procedures: one for sexual misconduct

cases and another process for non-sexual misconduct cases. Id. at ¶¶ 33-35.

        c.      In the non-sexual misconduct cases, an investigator conducts an investigation and

provides a summary of the allegations, witnesses and other relevant evidence and allows an accused


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student to respond to the charges, present witnesses, and question witnesses at a hearing related to the

findings. Id. at ¶¶34-35.

         d.       When there are sexual misconduct claims, an investigator conducts an “investigation”

and then issues a preliminary “probable cause” or no probable cause” finding based solely upon his or

her discretion. This is the first time the accused is given notice of the specific policy violation he

allegedly violated. The report does not disclose the names of any witnesses or what information,

specifically was reviewed by the investigator. The accused is then required to “respond” to the

preliminary report, even though the accused—or their agent—are never present for any portion of the

investigation, save for an interview by the investigator, and are never provided the names of any

witnesses. The accused is then given only one shot to “find” new evidence against the allegations.1 If

he does not, or the investigator deems the new evidence unpersuasive, the investigator issues a final

letter of determination, which becomes binding on the accused. Id., at ¶¶ 37-52.

         e.       Unlike non-sexual misconduct cases, the accused in a sexual misconduct case is not

provided a hearing during the “probable cause/no probable cause” findings stage. Instead, the

investigator makes the probable cause finding, which becomes unrebuttable at a sanctions hearing, and

then a hearing is held to determine the severity of the sanction based upon the unrebuttable report

provided to the committee or the hearing officer. Id. at ¶¶ 37-50.

         f.       Although the initial probable cause finding and sanction may be reviewed by the UNM

Board of Regents and UNM President, the review is only had in “extraordinary cases.” Id. at ¶¶ 50-52.

         g.       Critically, the distinction between sexual misconduct and non-sexual misconduct

disciplinary actions is that in non-sexual misconduct cases, an accused is provided an investigative

report that may be rebutted and the identity of witnesses—and an opportunity to examine witnesses—

in front of a committee prior to a violation determination. In sexual misconduct cases, however, the


1
 Like criminal charges asserted by the state, the complainant is a witness to the alleged misconduct and is not asserting
such claims on her behalf. Thus, UNM’s OEO office is the person or entity that asserts the probable cause/no probable
cause finding, not the complainant.

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investigator becomes the investigator, judge and jury, and never provides the accused an adequate

opportunity to challenge the investigator’s findings. Id., at ¶¶ 37-52.

        h.      Specifically, Defendant Vele Buchs, the investigator, was accusatory and hostile to

Plaintiff from the start, Plaintiff was never provided with an actual witness statement, no witness was

recorded, no witness asked to sign or review a statement, no questions were presented to the witness

in writing, inconsistencies in witness statements were never followed up, and the witness interviews

were not complete or thorough. Plaintiff identified a number of inconsistencies in the allegations raised

in the investigator’s report, but Plaintiff was never given an opportunity to adequately challenge the

credibility or veracity of the statements (at a hearing or otherwise). Worse, Defendants never advised

Plaintiff that UNM, through its Office of Equal Opportunity (“UNM OEO”), was going to conduct an

investigation, that the investigator’s findings would be final, that Plaintiff could not challenge the

findings at a hearing, and that Plaintiff could be sanctioned, up to and including expulsion, if the

investigator found “probable cause” of sexual misconduct. Id., at ¶¶69-71;73; 75; 78; 92-99; 115-117.

        i.      Plaintiff was found by UNM OEO to have violated University Policies and Plaintiff

was required to attend a sanctions hearing. Plaintiff was advised that the only issues that would be

resolved by both the investigation and the disciplinary hearing were the sexual misconduct allegations,

Defendant Chibanga, without any notice to Plaintiff, asked Plaintiff questions regarding underaged

drinking and alcohol, contrary to the policies and guidelines established by UNM. Defendant Chibanga

expelled Plaintiff, based in part upon the alleged underage drinking and alcohol, even though Plaintiff

never had notice of such charges, and even though he was advised that those issues would not be part

of the sexual assault claims. Id., at ¶¶ 117; 119-122.

        j.      Not surprisingly, in April of 2016 the US DOJ found that UNM’s student discipline

guidelines were deficient because of Defendant’s confusing labyrinth of outdated and often conflicting

policies and procedures as to sexual assault. The DOJ further found that Defendant’s minimal and

inconsistent training of officials who are responsible for addressing complaints of sexual assault, and


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further that Defendant UNM failed to provide adequate staffing and training to UNM officials; instead,

the OEO investigators were improperly trained and not able to adequately conduct investigations, to

gather evidence, or to determine the credibility of the witnesses, even though the investigators were

charged with just that: making credibility determinations Id., at ¶¶ 140-145.

        Contrary to Defendants’ Motion, these actions show that Plaintiff was not afforded adequate

Due Process as Defendants failed to provide Plaintiff: meaningful notice of the allegations, to include

notice of the severity of the sanction, the alleged violation, and the limitations placed on sexual

misconduct findings and hearings; meaningful opportunity to be heard, to include the opportunity to

respond, explain and defend; the opportunity to confront witnesses and the opportunity to hear, respond

to, and question and cross-examine witnesses, including his accuser; identification of all of the

evidence and witnesses relied upon by Defendants; meaningful and unbiased university policies and

procedures; a prompt thorough and impartial investigation; an impartial and unbiased party to

determine “Probable Cause”; and an impartial hearing to determine “Probable Cause.” Defendants

further failed to provide adequate due process when they failed to follow policies and procedures

regarding the investigation and sanctioning of students alleged to engage in sexual misconduct; refused

to allow Plaintiff’s Counsel to represent Plaintiff’s interests throughout the investigatory and

sanctioning process, to include allowing Plaintiff’s counsel to make argument, to examine witnesses,

directly or by written questions, to speak on behalf of the Plaintiff, or to take any other action as counsel

for Plaintiff; and failing to institute policies and procedures that protect the interests of both the accused

student and the accuser. See generally Complaint [Doc. 1-1].

        Further, Defendants mistakenly claim that Plaintiff only seeks to expunge his record and

readmittance. To the contrary, the Complaint also requests a reversal of outcome and findings of the

UNM investigation, a finding that the sanctioning process utilized by Defendants are improper and

violative of the law. See Complaint [Doc. 1-1] at p. 35-36 (prayer for relief); ¶¶ 174 & 178.




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        When all of the factual allegations stated in Plaintiff’s Complaint are viewed as a whole against

the backdrop of Tenth Circuit case law and precedent, Defendants claim that Plaintiff has not identified

a due process claim against the individual Defendants loses weight and credibility. For these reasons,

Defendants’ Motion to Dismiss Plaintiff’s Due Process Claims fails and should be denied by this Court.

                                      STANDARD OF REVIEW

        Defendants seek dismissal of Plaintiff’s due process claims pursuant to Federal Rule of Civil

Procedure 12(b)(6). [Doc. 12] at p. 2. When considering a 12(b)(6) motion, this court must “accept as

true all well-pleaded factual allegations in a complaint and view these allegations in the light most

favorable to the plaintiff. Smith v. United States, 561 F.3d 1090, 1098 (10th Cir. 2009) (citing Moore

v. Guthrie, 438 F.3d 1036, 1039 (10th Cir. 2006)). Although Plaintiff’s Complaint was originally

brought in state court and subject to New Mexico’s notice pleading standard, Defendants voluntarily

removed the case to federal court on December 12/14/2017. [Doc. 1]. With the case proceeding in

federal court, the applicable Twombly standard requires this Court to consider “whether the complaint

contains enough facts to state a claim to relief that is plausible on its face.” Id. (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 127 S. Ct. 1955). In this case, Plaintiff has met Rule 12 and plead sufficient

facts to support his Due Process Claims against the individual Defendants.

                                              ARGUMENT

I.      PLAINTIFF HAS PLEAD SUFFICIENT FACTS TO STATE A DUE PROCESS
        CLAIM AGAINST THE INDIVIDUAL DEFENDANTS.

        In order to assert a Constitutional claim under 42 U.S.C. § 1983,

        [a] plaintiff must establish (1) a violation of rights protected by the federal Constitution
        or created by federal statute or regulation, (2) proximately caused (3) by the conduct of
        a “person” (4) who acted under color of any statute, ordinance, regulation, custom[,] or
        usage, of any State or Territory or the District of Columbia.

Ysasi v. Brown, 3 F.Supp.3d 1088, 1115-16 (D.N.M. 2014) (citation omitted). Plaintiff’s Complaint

alleges the Defendants, in their official and individual capacities, while acting under color of state law,




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violated Plaintiff’s state2 and federal constitutional due process rights when they expelled him from

UNM without adequate due process. As articulated more fully below, these allegations in the

Complaint support a Constitutional Due Process claim under section 1983.

         In their Motion and Memorandum Brief, Defendants appear to argue that Plaintiff fails to plead

a due process claim for the following reasons: (1) University of New Mexico, and its Board of Regents,

are an arm of the State of New Mexico and are, therefore, not “persons” under § 1983; (2) that

Plaintiff’s claims for injunctive and declaratory relief fail because Plaintiff allegedly failed to identify

a person against whom they may seek such relief; (3) that Plaintiff fails to assert a due process claim

against the UNM Defendants; and (4) that UNM employees, while acting in their individual and official

capacity, are afforded immunity under the “qualified immunity doctrine.” Defendants’ arguments fail,

however, because the facts, as plead, articulate a claim for relief against all of the Defendants. 3

         A. Defendants Cannot Claim Eleventh Amendment Immunity When Plaintiff Claims
            Equitable Relief.

         Plaintiff seeks prospective equitable relief from the Court demanding the Defendants to reverse

the UNM sanction and investigation outcome and findings against the Plaintiff, expunge Plaintiff’s

educational records, prohibit UNM from disclosing Plaintiff’s educational records reflecting the UNM

sanction against the Plaintiff, and readmit Plaintiff into UNM to complete his graduate program. See




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  Defendants claim Plaintiff has failed to state a constitutional claim because the Complaint does not state a federal
constitutional claim. As this Response Brief identifies, Plaintiff has adequately plead a federal constitutional claim,
and, therefore, Plaintiff has adequately plead a state constitutional claim.
3
  Defendant UNM has not alleged in their Motion that it—and its Board of Regents—cannot be sued because of
Eleventh Amendment immunity. See Estes v. Wyoming Dep’t of Transp., 302 F.3d 1200, 1206 (10th Cir. 2002). As
discussed herein, Defendant UNM waived any claims to Eleventh Amendment Immunity from suit when it removed
the case to federal court. See Response at pp. 9-10. Notwithstanding that fact, it is quite evident that the Tenth Circuit
does not abandon the state’s liability immunity for monetary damages when a case is removed from state to federal
court. See Trant v. Oklahoma, 754 F.3d 1158, 1172 (10th Cir. 2014). Plaintiff, however, will not argue that UNM—
as a state entity—or the Individual Defendants acting in their official capacities are subject to money damages. This,
however, does not mean that Plaintiff waives any right to costs and attorneys’ fees should Plaintiff prevail on his
claims against the UNM Defendants for injunctive relief or claims brought against the Defendants in their individual
capacity under § 1983. See Maine v. Thiboutout, 448 U.S. 1, 9 (1980) (42 U.S.C. § 1988 “states that fees are available
in any §1983 action. Since we hold that this statutory action is properly brought under §1983, and since §1988 makes
no exception for statuary §1983 action, § 1988 [permitting the prevailing party to recover reasonable attorney’s fees]
plainly applies to this suit.”).

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generally [Doc. 1-1], at prayer for relief, pp. 35-36. Ancillary to the equitable relief requested, Plaintiff

also seeks a declaration from this Court that the investigative and sanctioning process utilized by the

Defendants was unconstitutional, violated Plaintiff’s rights, and is therefore inadequate as a matter of

law. Id. For purposes of seeking prospective equitable relief, Defendants, acting in their official

capacities, can be sued in federal court. It does not matter that they are succeeded by another official

because that successor official automatically assumes the defendant’s position in the lawsuit. The

Defendants, acting in their official capacities, have been properly named and either waived their right

to argue that the State is immune from suit or they fall under the Ex Parte Young immunity exception.

               1. Defendants Cannot Assert an Immunity Defense.

        Defendants are correct that Plaintiff may seek prospective injunctive relief from this Court

against the Individual Defendants in their official capacities. [Doc. 12], at p. 29. This is because

Defendants voluntarily removed this case to federal court. [Doc. 1], Notice of Removal. Once

Defendants removed the case, they unequivocally waived their Eleventh Amendment immunity from

suit in federal court. See Estes v. Wyoming Dep’t of Transp., 302 F.3d 1200, 1205-06 (10th Cir. 2002).

Although the State retains immunity from monetary damages when a case is removed, it does not retain

its immunity from suit for prospective injunctive relief. Will v. Mich. Dep’t of State Police, 491 U.S.

58, 71 n.10 (1989); Estes, 302 F.3d at 1206 (“Because [the State as a Defendant] waived its sovereign

immunity by removing the case from state court to federal court, [this Court] need not address whether

injunctive relief is available for [the Plaintiff] under Ex Parte Young, 209 U.S. 123, 28 S.Ct. 441, 52

L.Ed. 714 (1908)”); Trant v. Oklahoma, 754 F.3d 1158, 1172 (10th Cir. 2014) (recognizing a “state

may waive immunity from suit while retaining immunity from liability for monetary damages”). This

is especially true when the state, through its own laws, waives its sovereign immunity from suit. See

Estes, 302 F.3d at 1206 (recognizing that once a case is voluntarily removed by defendants to federal

court, it waives any immunity as to claims that could be brought in state court); NMSA 1978, § 41-4-




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17 (2018) (stating that the New Mexico Tort Claims Act does not prohibit proceedings against the

State for injunctive relief). Defendants waived their immunity defense in this case.

               2. Plaintiff’s Equitable Relief Claim Falls Under the Ex Parte Young Exception.

        Notwithstanding the fact that Defendants, in their official capacity, waived Eleventh

Amendment immunity by choosing to remove this action from state to federal court, the Ex Parte

Young exception would apply in this situation, allowing Plaintiff to seek prospective relief from the

individual defendants acting in their official capacity. See Buchwald v. University of New Mexico

School of Medicine¸159 F.3d 487, 495-96 (10th Cir. 1998) (“Ex Parte Young recognizes an exception

to Eleventh Amendment immunity under which a state officer may be enjoined from ‘taking any steps

toward the enforcement of an unconstitutional enactment, to the injury of complainant.’”) (citation

omitted). Based on UNM’s waiver of Eleventh Amendment immunity and the Ex Parte Young

exception, an expelled UNM student such as Plaintiff may seek prospective relief against UNM to

protect against continuing constitutional violations.

               3. Further, Defendants Have Been Properly Named.

        The Defendants next argue that none of the named Individual Defendants identified by Plaintiff

have the authority to grant the relief sought. [Doc. 12] at pp. 28-29. Implicit in Plaintiff’s request for

relief for expungement, however, is that Defendants have the authority to provide such relief. Plaintiff

identified both the Board of Regents and the UNM President (Robert Frank) individually and in their

official capacity. [Doc. 1-1]. The Complaint states that the Board of Regents has the power to

promulgate rules and regulations related to the governance of UNM and has general supervisorial

control of UNM and the actions of UNM’s employees. Id. at ¶¶ 8-9. Similarly, The Board of Regents

hires a president to act as UNM’s Chief Executive Officer. Thus, both the UNM Board of Regents and

the UNM President could affect the prospective relief requested by Plaintiff.

        Defendants, who are in the best position to know the person authorized to expunge records and

reinstate students, do not deny that the current President of UNM has authority to expunge records. In

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a footnote, however, Defendants note that former President Robert Frank had the apparent authority to

reinstate Plaintiff, but claim Mr. Frank is no longer President of UNM, and any former power he may

have had to reinstate now does not exist. [Doc. 1-1] at n. 8. Defendants disregard the fact that “when

officials sued in [their official] capacity in federal court die or leave office, their successors

automatically assume their roles in the litigation.” Hafer v. Melo, 502 U.S. 21, 25 (1991); Fed. R. Civ.

P. 25 (“An action does not abate when a public officer who is a party in an official capacity dies,

resigns, or otherwise ceases to hold office while the action is pending. The officer's successor is

automatically substituted as a party”). Because Defendants Robert Frank and the Board of Regents are

sued in their official capacity for injunctive relief, their successor in office is automatically substituted

as a party. Moreover, by the transitive property, the Board of Regents should hold the same authority

and powers as the president to perform—or direct others to perform—the prospective relief requested

in Plaintiff’s Complaint. Based upon Defendants’ own admission, the UNM President, and by logical

extension the UNM Board, have the power to fulfill the prospective relief requested in Plaintiff’s

Complaint. Therefore, Plaintiff’s claim for injunctive relief should survive.

         Should this Court find it necessary for Plaintiff to specifically plead that a particular Defendant

has the authority to expunge records and reinstate Plaintiff, Plaintiff respectfully requests this court

allow Plaintiff the opportunity to amend the Complaint prior to dismissal because this case is in its

early stages of litigation and Defendants will suffer no unfair prejudice.4 Fed. R. Civ. P. 15(a)(2) (“The

court should freely give leave when justice so requires.”).

    B. Plaintiff Has Adequately Plead a Due Process Claim to Support a §1983 Claim.

         Notwithstanding the fact that Defendants, acting in their official capacity, can be sued for

prospective injunctive relief, Defendants further argue that Plaintiff has failed to plead a violation of a

constitutional right to support a Section 1983 claim. (Doc. 12 at 29). Contrary to Defendants’ position,



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  UNM, its Board of Regents and other UNM officials have been sued in their official capacities, thus the state entity
is already on notice of Plaintiff’s claims.

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however, Plaintiff has adequately plead a violation of the Due Process Clause of the Fourteenth

Amendment in his Complaint to support a section 1983 claim.

        “The [Due Process] Clause [of the Fourteenth Amendment] is phrased as a limitation on the

State's power to act…It forbids the State itself to deprive individuals of life, liberty, or property without

‘due process of law.’” DeShaney v. Winnebago County Dept. of Social Services, 489 U.S. 189, 195

(1989); Kirkland v. St. Vrain Valley Sch. Dist. No. Re–1J, 464 F.3d 1182, 1189 (10th Cir.2006)

(“Procedural due process ensures that a state will not deprive a person of life, liberty or property unless

fair procedures are used in making that decision.”). When determining whether due process has been

satisfied, courts consider: “(1) Did the individual possess a protected interest to which due process

protection was applicable? (2) Was the individual afforded an appropriate level of process?” Kirkland,

464 F.3d at 1189. Plaintiff in this case possessed a liberty and property interest and was not afforded

adequate due process by UNM and the individual Defendants when he was expelled. For these reasons,

the UNM Defendants’ arguments that Plaintiff has failed to plead a Section 1983 claim for violations

of his due process rights must fail.

               1. Plaintiff Has a Protected Property Interest in His Continued Enrollment.

        “[T]he Tenth Circuit recognizes a constitutional right to due process before a student can be

deprived of her property interest in h[is] continued enrollment and graduate education.” Lee v. Kansas

State University, 2013 WL 2476702 at *6 (D. Kan., June 7, 2013) (unpublished) (reviewing 10th Circuit

cases); Gossett v. Oklahoma ex rel. Bd. of Regents for Langston Univ., 245 F.3d 1172, 1181 (10th Cir.

2001) (finding Plaintiff “had a property interest in his place in the Nursing School program that is

entitled to due process protection under the Constitution.”); Harris v. Blake, 798 F.2d 419, 422 (10th

Cir. 1986); Gaspar v. Bruton, 513 F.2d 843, 850 (10th Cir.1975) (finding a student in a public

vocational-technical school’s nursing program had a protected property interest); Brown v. Univ. of

Kansas, 16 F. Supp. 3d 1275, 1288 (D. Kan. 2014) (collecting cases); Siblerud v. Colorado State Bd.

of Agric., 896 F. Supp. 1506, 1512–13 (D. Colo. 1995) (relying on Gossett to find a graduate student


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had a property interest in attending Colorado State University); see also Assenov v. University of Utah,

553 F.Supp.2d 1319, 1327 (D. Utah 2008) (finding property right in student’s continued enrollment in

the doctoral program of the University of Utah College of Engineering’s Nuclear Engineering

Program). The Supreme Court, in the seminal case of Goss v. Lopez, 419 U.S. 565 (1975), stated that

a property interest is created “by an independent source, such as state statutes or rules.” Id.at 572-73.

Following the logic of Goss, the Tenth Circuit recognized that a state resident’s entitlement to post-

secondary public education through the legislature creates a property right. See Harris v. Blake, 798

F.2d 419, 422 (10th Cir. 1986). “The actual payment of tuition secures an individual’s claim of

entitlement.” Id. at 423 (citing Gaspar v. Bruton, 513 F.2d 843, 850 (10th Cir. 1975)).

        New Mexico’s Legislature established the University of New Mexico to provide all of its

citizens with post-secondary education. See NMSA 1978, § 21-7-1, et seq. Plaintiff in this case has a

property interest in his continued education at the University of New Mexico’s Doctoral Program.

Plaintiff was enrolled at the University of New Mexico and had paid his tuition for over four years.

[Doc. 1-1] at ¶ 26. In fact, Plaintiff paid tuition for the fall semester of 2016, but was expelled from

UNM prior to that date and barred from attending any classes for which he already paid. Id. at ¶ 28.

Plaintiff has a property interest in his continued education in a post-graduate education, “and more

prominently so” because he had paid a separate fee for enrollment and attendance at the University.

Gaspar, 513 F.2d at 850; see also Harris, 798 F.2d at 424 (recognizing that a person has a property

interest in his post-graduate education). The Complaint articulates a valid property interest.

               2. Plaintiff Has a Protected Liberty Interest in His Good Name and Reputation.

        Not only does the Fourteenth Amendment protect a student’s property interest in continuing

education, but “[t]he Due Process Clause also forbids arbitrary deprivations of liberty.” Goss, 419 U.S.

at 574. “‘Where a person's good name, reputation, honor, or integrity is at stake because of what the

government is doing to him,’ the minimal requirements of the Clause must be satisfied.” Id. (Citing

Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971)). In the instant case, Plaintiff plead in his


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Complaint that his reputation has been harmed because his educational, which was impeccable, now

shows an expulsion for alleged sexual misconduct. [Doc. 1-1] at ¶¶ 129-133; 149-171; 173-174.

        As recognized by the Court in Goss, any notations on educational records identifying

misconduct or expulsion clearly deprive a student of liberty interests protected by the Fourteenth

Amendment of the U.S. Constitution. 419 U.S. at 574-55 (recognizing that a suspension could

“seriously damage the students’ standing with their fellow pupils and their teachers as well as with

later opportunities for higher education and employment”); see also Doe v. Rector & Visitors of George

Mason Univ., 149 F. Supp. 3d 602, 613-14 (E.D. Va. 2016) (because plaintiff’s expulsion for sexual

misconduct was indisputably a state action, the record makes clear that state action has deprived

plaintiff of a protected liberty interest). Thus, the Complaint alleges a recognized liberty interest.

    C. Plaintiff Was Not Afforded Procedural Due Process Prior to his Expulsion.

        Analysis of the adequacy of process under the Due Process Clause in suspension or expulsion

cases is governed by the balancing test set forth in Mathews v. Eldridge, 424 U.S. 319, 335 (1976). See

Watson ex rel. v. Beckel, 242 F.3d 1237, 1240 (10th Cir. 2001). “Under Mathews, a court must balance

three factors: (1) the private interest that will be affected by the official action, (2) the probable value,

if any, of additional or substitute procedural safeguards, and (3) the government’s interest, including

the fiscal and administrative burden, that the additional or substitute procedural requirements would

entail.” Id. Here, the facts plead in the Complaint establish that the Mathews factors weigh in favor of

affording Plaintiff more process than that afforded him by Defendant.

                1. Private interests are affected.

        Plaintiff agrees with Defendants that his interest in continued enrollment at UNM was

“substantial.” See [Doc. 12] at 16. Indeed, in a case where a graduate student faces expulsion in a

disciplinary proceeding, the students private interest is exceptionally robust. See Siblerud v. Colorado

State Bd. of Agriculture, 896 F. Supp. 1506, 1516 (D. Colo. 1995). Plaintiff in this case was a graduate

student at UNM who had completed his coursework with distinction. Plaintiff paid tuition for over four


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years and needed only to complete his dissertation before graduating. Given the fact that UNM has

expelled and barred the Plaintiff, he has no chance of obtaining his Ph.D. degree from UNM.

        Similarly, the quasi-criminal nature of the expulsion has lifelong ramifications that will affect

everything from future education to job prospects, to include the ability to further his education in his

field of interest—or any other academic field. Moreover, Plaintiff’s transcript reflects a notation of

expulsion. Because the transcripts would need to be provided to any other educational institution if he

wants to continue his education somewhere else or if such transcripts are requested from any

prospective employer, such notation will hurt any chances at education or employment. See Doe v.

Rector & Visitors of George Mason Univ.,149 F.Supp.3d at 613-14 (“a non-academic justification for

an expulsion implies the existence of serious character defects”).

                2. Risk of erroneous deprivation and value of additional safeguards.

        As the Supreme Court in Goss recognized, “[d]isciplinarians, although proceeding in utmost

good faith, frequently act on the reports and advice of others; and the controlling facts and the nature

of the conduct under challenge are often disputed. The risk of error is not at all trivial.” 419 U.S. at

580. Thus, where an accused faces the possibility of expulsion from a graduate program, the accused

should be entitled to a meaningful hearing. See Allahverdi v. Regents of Univ. of New Mexico, No. 05-

277 JB/DJS, 2006 WL 1313807, at *9 (D.N.M. Apr. 25, 2006)(A public educational institution may

not expel a student for misconduct “without adherence to the minimum procedures required by [the

Due Process] Clause.”); Siblerud, 896 F. Supp. at 1516. A meaningful hearing, in the context of a claim

of sexual assault, should be procedurally more stringent than your standard expulsion case because of

the stigma associated with being characterized as a “sexual predator.” As the court George Mason

Univ. explained, “common sense suffices to understand that an adjudication of responsibility for sexual

misconduct carries a much more powerful stigma than an adjudication of the run-of-the-mill assault or

vandalism.” 149 F. Supp. 3d 602.




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                       i.    Inadequate Opportunity to be Heard and Respond.

        In order to mitigate the possibility of error in a disciplinary determination, courts have required

that a person accused of sexual misconduct should have an opportunity to present evidence, and

confront witnesses, in front of an impartial tribunal. See Tonkovich v. Kansas Bd. of Regents, 159 F.3d

504, 520-21 (10th Cir. 1998) (providing a professor accused of sexual misconduct with identity of

adverse witnesses, a trial-like evidentiary hearing, and an opportunity to cross-examine witnesses);

Doe v. Alger, 175 F. Supp. 3d 646 (W.D. Va. 2016); George Mason Univ., 149 F. Supp. 3d 602. This

is especially true when the fact issues associated with whether a party consented to sexual contact turn

on very complex and complicated fact issues, to include issues of credibility, that may turn on

presentation of evidence and examination of witnesses. See Goldberg v. Kelly, 397 U.S. 254, 269

(1970) (recognizing the importance of oral presentations, “particularly where credibility and veracity

are at issue”); Neal v. Colorado State Univ.-Pueblo, No. 16-CV-873-RM-CBS, 2017 WL 633045, at

*23 (D. Colo. Feb. 16, 2017)(recognizing that the probable values of allowing the accused an

opportunity to cross-examine witnesses and present evidence to an impartial decision maker “are each

high” and would “make an erroneous decision less likely”); Siblerud, 886 F. Supp. at 1516 (recognizing

that a pre-termination hearing would not be too cumbersome and would have “provided more

safeguards against any erroneous decision”); Winnick v. Manning, 460 F.2d 545, 550 (2d Cir. 1972)

(where a student disciplinary proceeding hinges on a problem of credibility where the decision maker

has to choose to believe either the accused or the accuser, cross-examination of witnesses might be

essential to a fair hearing); Donohue v. Baker, 976 F. Supp. 136, 146-47 (N.D.N.Y. 1997) (“[I]n light

of the disputed nature of the facts and the importance of witness credibility … in this case, due process

required that the panel permit the [accused student] to hear all evidence against him and to direct

questions to his accuser through the panel”); Doe v. Regents of the Univ. of Cal. San Diego, No. 37-

2015-00010549-CU-WM-CTL, Minute Order, at 2 (Mar. 25, 2015) (Finding “[t]he right of cross-

examination is especially important where finding against a party are based on an adverse witness’s


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testimony[]” and that such was “essential” in case where report introduced in disciplinary proceeding

against student made findings regarding the credibility of the complainant.)(cited authority omitted);

Doe v. Univ. of Cincinnati, No. 1:16CV987, 2016 WL 6996194 (S.D. Ohio Nov. 30, 2016)( (finding

“cross-examination was essential to due process” in investigation of sexual assault claims where the

determining committee “was given the choice of believing either Jane Roe or Plaintiff[.]”).

       In this case, Plaintiff contested the factual assertions made by the Complainant, to include

contesting the claims that the accusing student was unable to consent to sexual contact due to

incapacitation. [Doc. 1-1] at ¶¶ 62; 74; 106. Plaintiff was not given a fair opportunity to adequately

challenge the claims against him or to challenge the credibility of the Complainant or any witnesses.

Instead, the Investigator, who was hostile toward Plaintiff and evidenced bias, interviewed witnesses

outside the presence of Plaintiff, made credibility determinations regarding the witnesses, and made a

“probable cause” determination without ever holding a formal hearing whereby Plaintiff had any

opportunity to challenge these assertions. Id. at ¶¶ 62-100 (describing “investigation” conducted). In

essence, the OEO investigators acts as investigator, judge and jury without a fair and unbiased process.

       UNM’s process does not contain many of the characteristics that an open, unbiased and fair

process should contain to afford due process. Plaintiff is never given an opportunity to know who the

witnesses are that provided information to UNM OEO, not allowed to be present during any of the

interviews/investigations conducted by UNM OEO, is never provided any taped interviews of these

witnesses interviewed by UNM OEO, never provided an opportunity to question the witnesses

regarding the factual assertions made in the PLD or FLD, never provided an opportunity to examine

witnesses in front of an impartial panel, and never provided an opportunity to adequately prepare for

the allegations raised in either the FLD or PLD. Plaintiff is only allowed to provide a statement to

UNM OEO- and other factual information not already “discovered”—even though Plaintiff cannot

know what has, or has not, been discovered because he was never involved in the investigation. The




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entire process is unfair and partial against Plaintiff and does not give Plaintiff an opportunity to

adequately challenge the claims asserted against him.

        The cases cited to support their claim that Defendants met the “minimum” due process

requirements of this Court do not actually support that proposition. One case cited by Defendants, Doe

v. Cummins, instructs that an investigator must not be biased and explains that should there be evidence

of such bias, such may indicate a due process violation. 662 F. App’x 437, 449-450 (6th Cir. 2016).

In discussing the issue, Cummins court determined that having a separate panel, outside of the

investigatory process, prevents the possibility of such bias. Id. at 450. In this case, having an

investigator who is accusatory of Plaintiff from the get-go and who refuses to analyze contradictory

evidence is indicia of bias and can easily be remedied by instituting a procedure similar to those applied

by UNM in non-sexual misconduct cases, i.e., an actual hearing.

        Defendants also cite Flaim v. Med. Coll. Of Ohio, 41 F.3d 629, 635 (6th Cir. 2005), to argue

that Plaintiff’s allegations in the Complaint that he should be entitled to more process than offered by

UNM and the individual defendants was not warranted. Again contrary to Defendants’ assertions, the

court in Flaim recognized that an expulsion requires the court to make a “more searching inquiry” into

the due process analysis. Id. at 634. As the court in Flaim instructed,

        Notice and an opportunity to be heard remain the most basic requirements of due
        process. Within this framework—and the generalized, though unhelpful observation
        that disciplinary hearings against students and faculty are not criminal trials, and
        therefore need not take on many of those formalities—the additional procedures
        required will vary based on the circumstances and the three prongs of Mathews.
        Beginning with notice, in Goss oral notice sufficed. The stronger the private interest,
        however, the more likely a formal written notice—informing the accused of the charge,
        the policies or regulations the accused is charged with violating, and a list of possible
        penalties—is constitutionally required. In some circumstances where factual issues are
        disputed, notice might also be required to include the names of witnesses and a list of
        other evidence the school intends to present.

        ****
        An accused individual has the right to respond and defend, which will generally include
        the opportunity to make a statement and present evidence. It may also include the right
        to call exculpatory witnesses. Some circumstances may require the opportunity to
        cross-examine witnesses, though this right might exist only in the most serious of cases.


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    Id. at 635-36. (citations omitted). As the Flaim court instructs, the question is one of fairness and

requires the court to look at the totality of the process to determine whether the process was fair and

whether adequate process was afforded. Id. at 634; Doe v. Cummins, 662 F. App’x at 446 (“In the

school disciplinary context, an accused student must at least receive the following pre-expulsion: (1)

notice of the charges; (2) an explanation of the evidence against him; and (3) an opportunity to present

his side of the story before an unbiased decisionmaker.”). moreover, the reasoning in Flaim supports

the holding in Goss and cases in the Tenth Circuit: a public educational institution may not expel a

student for misconduct “without adherence to the minimum procedures required by [the Due Process]

Clause.” Goss v. Lopez, 419 U.S. 465, 573-74 (1975); Watson ex rel. v. Beckel, 242 F.3d 1237, 1240

(10th Cir. 2001). Defendants also cite to Watson ex rel. v. Beckel, 242 F.3d 1237, 1242 (10th Cir. 2001)

for the proposition that the Tenth Circuit does not allow for cross-examination. However, in Watson,

the Court found the accused in that case was not prejudiced by the outcome because additional

procedures would not have protected the accused who “candidly admitted his guilt.” Watson ex rel. v.

Beckel, 242 F.3d 1237, 1242 (10th Cir. 2001). Watson does not announce a rule, as Defendants seem

to suggest, that accused are never entitled to cross-examination.

                      ii.    Inadequate Notice.

        Not only was Plaintiff denied adequate due process because he was not given an opportunity

to present his case at a hearing, but Plaintiff was also denied adequate notice. As a general mater, a

student threatened with expulsion is entitled to notice that “contains a statement of the specific charges

and grounds which, if proven, would justify expulsion.” See Dixon v. Ala. State Bd. of Educ., 294 F.2d

150, 158 (5th Cir. 1961); Goss v. Lopez, 419 U.S. at 581; 584 (finding that “[d]ue process requires, in

connection with a suspension of 10 days or less, that the student be given oral or written notice of the

charges against him and, if he denies them, an explanation of the evidence the authorities have and an

opportunity to present his side of the story[;]” however, for “[l]onger suspensions or expulsions for the


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remainder of the school term, or permanently, may require more formal procedures.”)); Doe v. Alger,

175 F. Supp. 3d 646, 661 (W.D. Va. 2016) (“The notice should contain a statement of the specific

charges and grounds which, if proven, would justify expulsion under the regulations of the

[University].”).

        Plaintiff in this case never received adequate, meaningful notice of the allegations or the

alleged violation of policy, the severity of the sanction he faced, the policies or procedures that would

be followed, or any limitations placed on sexual misconduct findings and hearings. [Doc. 1-1] at ¶¶

70-71; 116;154(a). At no time was Plaintiff advised that he faced possible expulsion if UNM OEO

unilaterally determines that “probable cause” of a UNM policy violation is found by the UNM OEO

investigator; that he was in violation of specific policies of the UNM disciplinary guidelines; that the

UNM OEO officer would rely upon hearsay statements from witnesses without any indicia of

trustworthiness; that Plaintiff would not have an opportunity to address any allegations raised by the

Complainant at a hearing, formal or otherwise; that Plaintiff would not have an opportunity to examine

or cross-examine witnesses or the complainant; that once the OEO Officer finds “probable cause,” the

only recourse for the Plaintiff is to request an appeal from the UNM Board of Regents and the President

of UNM; or that any “probable cause” finding by the OEO is final and would not be challenged at any

sanctions hearing. When Plaintiff received this letter, he simply did not understand—or know—that

the investigation was both an investigation and a determination of “guilt”; that is, he did not know that

the investigator was really wearing three hats: investigator, judge and jury.

        Plaintiff eventually received a Preliminary Letter or Determination that identified the policy

violations of which he was charged. By that time, however, the UNM OEO had already made its

decision as to the probable cause finding and only allowed Plaintiff to submit “facts not yet discovered

by the investigation.” [Doc. 1-1] at ¶100. Of course, Plaintiff was not wholly certain what, specifically,

was or was not discovered by the investigation because the investigation was conducted by the UNM

OEO investigator and without the Plaintiff or counsel present and without disclosing any witnesses.


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Thus, Plaintiff could not determine whether there were any “new facts” that could be gleaned from the

witnesses because the witnesses were not disclosed to Plaintiff, and the PLD stated that Plaintiff had

only two weeks to respond with any new “facts”, even though the UNM OEO had months to conduct

an investigation and prepare their investigative report. Id. at ¶¶ 101-102. “Notice must be sufficient to

allow an accused student a meaningful opportunity to prepare.” George Mason Univ., 149 F. Supp. 2d

at 618. Notwithstanding the fact that University Defendants did not provide a hearing on the issue of

fault, Plaintiff was also not afforded adequate notice regarding the witnesses and where certain

information was obtained to allow Plaintiff to find “newly discovered” information to rebut the factual

determinations presented by UNM OEO.

        Similarly, when Plaintiff received notice of the sanctions hearing, he was never advised that

allegations of underage drinking would be part of the calculus in their sanction. Indeed, underaged

drinking was not even listed as a violation of policy in either the PLD or the FLD. [Doc. 1-1] at ¶¶119-

122. Not only did the Student Conduct Officer fail to provide notice of this charge, but she determined

that such conduct formed part of the basis for the expulsion of Plaintiff. Id., at ¶123. Such failure is a

clear violation of Plaintiff’s Due Process rights and his rights under the Student Grievance Procedure.5

        Defendants again cite to Flaim v. Med. Coll. Of Ohio, 41 F.3d 629, 635 (6th Cir. 2005) to argue

that adequate notice was provided. However, Flaim does not support Defendants’ position. Plaintiff

has plead that Defendants ignored even the minimum requirements of due process by failing to provide

Plaintiff with notice of the charges against him, to include notice of the charge, “the policies or

regulations the accused is charged with violating, and a list of possible penalties, all of which are

constitutionally required. Flaim, 418 F.3d at 635. Under Flaim, Plaintiff was not provided adequate

due process.




5
 Equally, the UNM Student Handbook is confusing and does not adequately identify which procedure, if any, will be
applied to claims of sexual misconduct. Thus, Plaintiff does not have an ability to obtain “notice” of the procedures
and sanction imposed under the UNM Student Handbook.

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                3.      Government’s Interests.

        Given the liberty and property interests at stake, Defendant UNM cannot identify a legitimate

government interest in not allowing a more formal procedure, especially when the Defendant does

allow a more formal due process hearing in cases where no allegations of sexual mistreatment are

alleged. Consideration of the “fiscal and administrative” burdens associated with greater procedural

protections does not tilt the scales in UNM’s favor. The alleged “hearings” for students accused of

sexual misconduct were simply an initial investigation followed by a hearing solely to address the

sanctions to be imposed. At the sanctions hearing, Plaintiff could not challenge the probable cause

determination that a violation of student sexual misconduct policy occurred. In contrast, student

grievance procedures in misconduct cases not involving sexual misconduct afford the accused the right

to a hearing addressing whether a violation in fact occurred. [Doc. 1-1] at ¶¶ 33- 35. This unjustified,

disparate treatment of the accused is not fairness and only supports a finding that additional procedural

protections in sexual misconduct claims, similar to those it already employs in other disciplinary

matters, would not burden UNM.

        Thus, Plaintiff has pled sufficient facts to support a due process claim which, in turn, supports

his claim under Section 1983.

    D. Defendants’ Qualified Immunity Claim Must Fail as a Matter of Law.

        Defendants argue that the Individual Defendants are immune from suit under the Qualified

Immunity Doctrine. [Doc. 12] at pp. 8-25. To overcome the Individual Defendants’ claim for qualified

immunity, Plaintiff must show: “first, that the defendant's actions violated a constitutional or statutory

right and, second, that the right at issue was clearly established at the time of the defendant's allegedly

unlawful conduct.” Casey v. W. Las Vegas Indep. Sch. Dist., 473 F.3d 1323, 1327 (10th Cir. 2007).

            1. Plaintiff Held A Clearly Established Right.

        “A court should inquire ‘whether the law put officials on fair notice that the described conduct

was unconstitutional” rather than engage in “a scavenger hunt for cases with precisely the same facts.’”


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Saenz v. Lovington Mun. Sch. Dist., 105 F. Supp. 3d 1271, 1300–01 (D.N.M. 2015) (quoting Pierce v.

Gilchrist, 359 F.3d 1279, 1298 (10th Cir.2004)). This Court has previously recognized that “[g]eneral

statements of the law are not inherently incapable of giving fair and clear warning....” Saenz v.

Lovington Mun. Sch. Dist., 105 F. Supp. 3d 1271, 1300–01 (D.N.M. 2015) (quoting Hope v. Pelzer,

536 U.S. 730, 741, 122 S.Ct. 2508, 153 L.Ed.2d 666 (2002).

         As described more fully above, Plaintiff’s property and liberty rights were clearly established

prior to his deprivation without adequate process; accordingly, Defendants’ qualified immunity

defense for claims against Defendants in their individual capacities should fail as a matter of law. In

this case, a “right in question is the constitutional right to due process before a student can be deprived

of her property interest in her continued graduate education.” Lee v. Kansas State Univ., No. 12-CV-

2638-JAR-DJW, 2013 WL 2476702, at *7 (D. Kan. June 7, 2013). Tenth Circuit precedent cited by

Plaintiff, supra, supports the conclusion in Lee v. Kansas State Univ. that “this right is clearly

established, and a reasonable official would have known that the conduct alleged by Plaintiff was

unconstitutional.” Id. Notwithstanding the fact that the Tenth Circuit has clearly identified case law

regarding property interests for cases involving student discipline,6 Defendants cite cases outside the

Tenth Circuit to argue support for their position that enrollment in post-secondary education is not a

protected interest. These cases do not support the Defendants position because there are clearly

identified cases in the Tenth Circuit indicating that a public university student has both protected liberty

and property interests at UNM.

             2. The Individual Defendants’ Conduct Violated Plaintiff’s Clearly Established
                Right.

         Defendants seek to argue that UNM provided sufficient procedure to Plaintiff prior to expelling

him from the university for alleged sexual misconduct. Plaintiff, however, has articulated why the due



6
  As this court has recognized, academic decisions versus disciplinary decisions in the school context are different.
The accused are entitled to greater due process protections for disciplinary actions by a post-secondary educational
institution. See Allahverdi, 2006 WL 1313807, at *10-11 (D.N.M. Apr. 25, 2006)

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process provided Plaintiff was inadequate and have identified specific factual allegations supporting

why the actions and conduct of the Defendants specifically identified in the complaint support a due

process claim against the Defendants.

        Specifically, Plaintiff’s Complaint alleges facts that support Plaintiff’s general allegations that

Defendants failed to provide meaningful notice of the allegations, to include notice of the severity of

the sanction, the alleged violation, and the limitations placed on sexual misconduct findings and

hearings; a meaningful opportunity to be heard, to include the opportunity to respond, explain and

defend; failed to allow Plaintiff the opportunity to confront witnesses, to include allowing Plaintiff the

opportunity to hear, respond to, and question and cross-examine witnesses, including his accuser; failed

to identify all of the evidence and witnesses relied upon by Defendants; failed to implement meaningful

and unbiased university policies and procedures; did not afford UNM employees adequate and

appropriate training of methods for investigating allegations of sexual misconduct; a prompt thorough

and impartial investigation; failed to provide an impartial and unbiased party to determine “Probable

Cause;” failed to provide an impartial hearing to determine “Probable Cause;” did not allow Plaintiff’s

Counsel to represent Plaintiff’s interests throughout the investigatory and sanctioning process, to

include not allowing Plaintiff’s counsel to make argument, to examine witnesses, directly or by written

questions, to speak on behalf of the Plaintiff, or to take any other action as counsel for Plaintiff; and

failed to institute policies and procedures that protect the interests of both the accused student and the

accuser. All of these actions, individually and collectively, establish a violation of Plaintiff’s clearly

established due process rights. For these reasons, this Court should find that Defendants’ qualified

immunity claims fail.

3.      DEFENDANTS’ SUBSTANTIVE ARGUMENTS MADE IN FOOTNOTES SHOULD
        BE WAIVED.

        This Court should find any substantive argument raised in a footnote not properly preserved

and thus waived. In re C.W. Min. Co., 740 F.3d 548, 564 (10th Cir. 2014) (quoting United States v.



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Berry, 717 F.3d 823, 834 n. 7 (10th Cir.2013)) (“Arguments raised in a perfunctory manner, such as

in a footnote, are waived.”). Notwithstanding this fact, Plaintiff has sufficiently alleged facts

identifying the conduct of each of the individual defendants such that his claims against the Individual

Defendants should survive a motion to dismiss.

                                           CONCLUSION

        For the reasons stated above, this court should deny Defendants’ Motion to Dismiss Plaintiff’s

Due Process Claims.

                                                        Respectfully Submitted By:

                                                        ADAMS+CROW LAW FIRM

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                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was electronically filed using the

CM/ECF system, which caused a copy to be sent by email to all counsel of record on this 25th day of

May, 2018.


                                                        /s/ Arlyn G. Crow
                                                        Arlyn G. Crow




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